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                       In The Matter Of:
                      ROWLETTE, et al. vs.
                     MORTIMER, M.D., et al.




                 GERALD E. MORTIMER, M.D.
                     December 11, 2018
                      Video Deposition



                      T&T Reporting, LLC
                  477 Shoup Avenue, Suite 105
                   Idaho Falls, Idaho 83402




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                              Video Deposition

                                                                        1

 1                   UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF IDAHO

 3   KELLI ROWLETTE, an individual,                  )
     SALLY ASHBY, an individual, and                 )
 4   HOWARD FOWLER, an individual,                   ) Cause No.
                                                     ) 4:18-CV 00143
 5                         Plaintiffs,               ) DCN
     vs.                                             )
 6                                                   )
                                                     )
 7                                                   )
     GERALD E. MORTIMER, M.D., LINDA G.              )
 8   MCKINNON MORTIMER, and the marital              )
     community comprised thereof, and                )
 9   OBSTETRICS AND GYNECOLOGY                       )
     ASSOCIATES OF IDAHO FALLS, P.A., an             )
10   Idaho professional corporation,                 )
                                                     )
11                         Defendants.               )

12
13             DEPOSITION OF GERALD E. MORTIMER, M.D.

14             Tuesday, December 11, 2018, 9:00 a.m.

15                          Idaho Falls, Idaho
16

17

18
              BE IT REMEMBERED that the deposition of
19   Gerald E. Mortimer, M.D. was taken by the attorney
     for the plaintiffs at the office of Thomsen Holman
20   Wheiler, PLLC, located at 2635 Channing Way, Idaho
     Falls, Idaho, before Amber S. Williams, Court
21   Reporter and Notary Public, in and for the State of
     Idaho, in the above-entitled matter.
22

23

24

25

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09:25AM    1   to become pregnant and are having difficulty doing

09:25AM    2   that and how can I help?

09:25AM    3            Q.     And the idea that you came up with was
09:25AM    4   inseminating them with your own semen?

09:25AM    5            A.     Well, it was very limited.          It was not

09:25AM    6   something that I did for a lot of patients.              It was a
09:25AM    7   very limited thing.

09:25AM    8            Q.     The first time that you inseminated a

09:25AM    9   patient with your own semen, did you tell the patient
09:26AM   10   that that was the opportunity that you were giving
09:26AM   11   them, was to have your child?

09:26AM   12            A.     No.
09:26AM   13            Q.     Was the first time that you inseminated

09:26AM   14   a patient with your own semen before you met

09:26AM   15   Ms. Ashby who was then Ms. Fowler?
09:26AM   16            A.     I don't remember.

09:26AM   17            Q.     Do you remember if Ms. Ashby was the

09:26AM   18   first one of your patients that you inseminated with

09:26AM   19   your own semen?

09:26AM   20            A.     I think she may have been, yes.

09:26AM   21            Q.     You don't remember inseminating any

09:26AM   22   patient with your own semen prior to Ms. Ashby?

09:26AM   23            A.     I don't.

09:27AM   24            Q.     We'll come back to all of that in a few

09:27AM   25   minutes.

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09:35AM    1   I -- that I was a sperm donor; that I did those

09:35AM    2   things in the past.       I guess I feel -- I feel bad

09:35AM    3   about that.     I wish -- I wish I hadn't done it.
09:36AM    4            Q.     As you sit here today, do you understand

09:36AM    5   that what you did was wrong?

09:36AM    6            A.     Yes.
09:36AM    7            Q.     And, as you sit here today, do you

09:36AM    8   understand how the wrong thing that you did could

09:36AM    9   cause somebody emotional distress?
09:36AM   10            A.     Yes.    I understand that.
09:36AM   11            Q.     Do you understand that finding out that

09:36AM   12   your trusted physician inseminated you with his own
09:36AM   13   semen without your knowledge could cause emotional

09:36AM   14   distress?

09:36AM   15            A.     Yes.
09:36AM   16            Q.     Okay.    And do you understand how being

09:37AM   17   the husband of a person whose physician inseminated

09:37AM   18   them with his own semen could cause distress?

09:37AM   19            A.     Yes.

09:37AM   20            Q.     Do you understand that, as a child --

09:37AM   21   that finding out that the man that you thought was

09:37AM   22   your father is not actually your biological father

09:37AM   23   could cause emotional distress?

09:37AM   24            A.     Yes.

09:37AM   25            Q.     Can you understand, as you sit here

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09:37AM    1   today, that finding out that not only is your father

09:38AM    2   not your biological father but that you are the

09:38AM    3   result of your mother being inseminated with her
09:38AM    4   physician's own semen without her knowledge could

09:38AM    5   cause additional distress?

09:38AM    6            A.     Yes.
09:38AM    7            Q.     If I told you that the events that bring

09:38AM    8   us here today caused Sally Ashby severe emotional

09:38AM    9   distress, would you have any reason to dispute that?
09:38AM   10            A.     No.
09:38AM   11            Q.     If I told you that the events that bring

09:38AM   12   us here today caused Howard Fowler severe emotional
09:38AM   13   distress, would you have any reason to dispute that?

09:39AM   14            A.     No.

09:39AM   15            Q.     If I told you that the events that
09:39AM   16   brought us here today caused Kelli Rowlette severe

09:39AM   17   emotional distress, would you have any reason to

09:39AM   18   dispute that?

09:39AM   19            A.     No.

09:39AM   20            Q.     Is it truthful to say that you don't

09:39AM   21   remember something when you actually do remember it?

09:39AM   22            A.     That's not truthful.

09:39AM   23            Q.     Okay.    Are you taking any medications

09:39AM   24   today that would prevent you from giving honest and

09:39AM   25   truthful answers?

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09:49AM    1             A.    But I don't remember for sure.           May be

09:49AM    2   more than one or two -- may have been more than one

09:49AM    3   or two times.
09:49AM    4             Q.    Are you aware that Ancestry.com

09:49AM    5   predicted a parent/child relationship between you and

09:49AM    6   Kelli Rowlette?
09:49AM    7             A.    Yes.

09:49AM    8             Q.    Okay.    And I'll represent to you that

09:49AM    9   the document that you've been provided as Exhibit *-1
09:49AM   10   is from Ancestry.com, and it predicts a parent/child
09:50AM   11   relationship with Gerald Elbert Mortimer.

09:50AM   12                   Do you see that?
09:50AM   13             A.    Yes.

09:50AM   14             Q.    Okay.    And I'll represent to you that

09:50AM   15   this was provided to me by Kelli Rowlette from her
09:50AM   16   account.

09:50AM   17                   Are you aware of any reason that

09:50AM   18   Ancestry.com would predict you to be Kelli Rowlette's

09:50AM   19   biological father, other than the fact that you are

09:50AM   20   actually Kelli Rowlette's biological father?

09:50AM   21             A.    I can't think of any other reason.

09:50AM   22             Q.    Are you Kelli Rowlette's biological

09:50AM   23   father?

09:50AM   24             A.    I -- yes.     I think I am.

09:50AM   25             Q.    At this time, you have no reason to

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11:54AM    1             Q.    You don't remember masturbating at your

11:54AM    2   office?

11:54AM    3             A.    I do not.     I don't think I ever did that
11:54AM    4   in my office.

11:54AM    5             Q.    What was the process when you brought

11:54AM    6   your own donor semen to the office?            Was that then
11:54AM    7   given to a nurse?       How was the exchange made?

11:54AM    8             A.    It was given to a nurse.         She didn't

11:54AM    9   know the source.      She didn't know that I didn't meet
11:55AM   10   Dr. Cannon or what -- you know, she didn't know the
11:55AM   11   source.    I would hand her the -- she would prepare

11:55AM   12   it, and then we would take care of it.
11:55AM   13             Q.    Did anybody ever ask you if the semen

11:55AM   14   samples that you were using were your own?

11:55AM   15             A.    I don't remember that they did.
11:55AM   16             Q.    But you don't specifically recall that

11:55AM   17   they didn't?

11:55AM   18             A.    I don't know the answer to that.

11:55AM   19             Q.    Okay.    So other people may have been

11:55AM   20   aware that you were using your own semen to

11:55AM   21   inseminate your patients?

11:55AM   22             A.    I don't think anyone knew that but me.

11:55AM   23             Q.    And these insemination processes,

11:55AM   24   whether -- well, let's just talk about when you were

11:55AM   25   the donor.     These took place at your office, correct?

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11:56AM    1            A.     Yes.

11:56AM    2            Q.     Okay.    It was a part of your medical

11:56AM    3   practice, correct?
11:56AM    4            A.     To provide -- to provide donor

11:56AM    5   insemination?     Is that what you're asking?

11:56AM    6            Q.     Yes.    I'm saying that you were providing
11:56AM    7   your semen to inseminate your patients as part of

11:56AM    8   your medical practice, correct?

11:56AM    9            A.     Yes.
11:56AM   10            Q.     And you did that at the offices of
11:56AM   11   Obstetrics & Gynecology Associates, correct?

11:56AM   12            A.     Correct.
11:56AM   13            Q.     And you were a shareholder in Obstetrics

11:56AM   14   & Gynecology Associates, correct?

11:56AM   15            A.     Yes.
11:56AM   16            Q.     And you were also an employee of

11:56AM   17   Obstetrics & Gynecology Associates, correct?

11:56AM   18            A.     Yes.

11:56AM   19            Q.     And there's nothing that -- when you

11:57AM   20   were using your own semen to inseminate your

11:57AM   21   patients, there's nothing that would have caused that

11:57AM   22   patient to think that it was anything outside of the

11:57AM   23   ordinary course of your practice, correct?

11:57AM   24            A.     That's correct.

11:57AM   25            Q.     You don't know how many biological

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01:44PM    1   were ovulating, when there was no other donor

01:45PM    2   available, and the husband's sperm was ineffective in

01:45PM    3   fertilizing the egg."
01:45PM    4            Q.     And the first word of that supplemental

01:45PM    5   answer is "Yes," that you did masturbate in the

01:45PM    6   offices of Obstetrics & Gynecology Associates,
01:45PM    7   correct?

01:45PM    8            A.     Well, that's what it says, but the other

01:45PM    9   one says that I don't remember doing it.
01:45PM   10            Q.     Well, you've testified today that you
01:45PM   11   didn't and you've put under oath in Exhibit *-13A

01:45PM   12   that you did.     So what's the truth, Dr. Mortimer?
01:45PM   13            A.     I -- the truth is that -- that I did.

01:45PM   14            Q.     Okay.    And when?

01:46PM   15            A.     I don't know when.
01:46PM   16            Q.     And how often?

01:46PM   17            A.     Not often.     Once in a while.        I don't

01:46PM   18   know.

01:46PM   19            Q.     And where?

01:46PM   20            A.     Where?

01:46PM   21            Q.     Yes.    Where in OGA's offices?

01:46PM   22            A.     In the -- in my private office bathroom.

01:46PM   23            Q.     Okay.    And was that the only place?

01:46PM   24            A.     Yes.

01:46PM   25            Q.     Okay.    And was it solely for the purpose

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02:12PM    1   Howard Fowler, correct?

02:12PM    2             A.    Yes.

02:12PM    3             Q.    And that would make Howard Fowler your
02:12PM    4   patient, wouldn't it?

02:12PM    5             A.    Yes.

02:12PM    6             Q.    So the places where you state that
02:12PM    7   Howard Fowler is not your patient are inaccurate,

02:12PM    8   correct?

02:12PM    9             A.    Based on that.
02:12PM   10             Q.    You would agree with me that they're
02:12PM   11   inaccurate?

02:12PM   12             A.    Well, based on what we just discussed.
02:12PM   13             Q.    So if it says that he was -- if it says

02:12PM   14   Howard Fowler was not your patient, that's not the

02:12PM   15   truth, is it?
02:12PM   16             A.    It's not.

02:12PM   17             Q.    Okay.    Thank you.

02:12PM   18                   I'd ask that you turn to page 8, Request

02:13PM   19   for Admission No. 32.

02:13PM   20                   Would you please read Request for

02:13PM   21   Admission No. 32 for the record.

02:13PM   22             A.    "Dr. R. Douglas Isbell did not try to

02:13PM   23   stop you from using your own semen to inseminate

02:13PM   24   patients."

02:13PM   25             Q.    Okay.    And it is, in fact, true that

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02:57PM    1             A.    It says the liquification is unknown.

02:57PM    2   So we don't know how long it took to liquify because

02:57PM    3   it was already -- it was unknown.
02:57PM    4             Q.    Okay.

02:57PM    5             A.    Okay.    And the volume is

02:58PM    6   5.5 milliliters, and the PH is 7.5, and 8 to 10 per
02:58PM    7   high-power field of white cells, and the count is

02:58PM    8   5 million.     The motility is 30 percent; the

02:58PM    9   morphology is 50 percent, which means 50 percent all
02:58PM   10   of them look normal, and the color was normal.
02:58PM   11             Q.    What's the significance to the

02:58PM   12   30 percent motility?
02:58PM   13             A.    That's a -- a greatly decreased

02:58PM   14   motility.

02:58PM   15             Q.    Okay.    So was this document a part of
02:58PM   16   what you based your diagnosis of low motility on?

02:58PM   17             A.    Yes.

02:58PM   18             Q.    Okay.    So based on this, you diagnosed

02:58PM   19   Howard Fowler with low motility?

02:58PM   20             A.    Yes.    30 percent.

02:58PM   21             Q.    Now, I ask you to look at the next page.

02:58PM   22             A.    Okay.

02:58PM   23             Q.    Is this your handwriting on this page?

02:58PM   24             A.    Yes.

02:58PM   25             Q.    Okay.    I would ask that you just walk me

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03:01PM    1             A.    That's what it says.

03:01PM    2             Q.    Okay.    Please go through the note on

03:01PM    3   December 3rd, 1979.
03:02PM    4             A.    Okay.    It Has her weight.        On the

03:02PM    5   examine, she had no cysts on the ovary, which

03:02PM    6   sometimes you get with Clomid.           It says that her
03:02PM    7   basal body temperature was flat, which means it

03:02PM    8   didn't show ovulation, and we increased her Clomid to

03:02PM    9   15 which is three a day.
03:02PM   10             Q.    The next note appears to be
03:02PM   11   December 20th, of 1979; is that correct?

03:02PM   12             A.    Yes.    And she was phoned in some vaginal
03:02PM   13   cream called Monistat.

03:02PM   14             Q.    Okay.    And then the next note is from

03:02PM   15   January 2nd, of 1980.
03:02PM   16             A.    Okay.    And this says that it's -- she

03:02PM   17   was there for a Clomid check, and the basal body

03:02PM   18   temperature was biphasic, which means it showed

03:03PM   19   ovulation, and says, "We'll start husband on Clomid,

03:03PM   20   one daily.     Recheck sperm count next visit."

03:03PM   21             Q.    Okay.    So you were going to start

03:03PM   22   husband, which would be Howard Fowler, on Clomid,

03:03PM   23   correct?

03:03PM   24             A.    Yes.

03:03PM   25             Q.    Okay.    And then what does it say after

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03:03PM    1   that?

03:03PM    2             A.    The next visit?

03:03PM    3             Q.    Well, it -- it says, "Will start husband
03:03PM    4   on Clomid one day" --

03:03PM    5             A.    Oh.    "Recheck sperm count next visit."

03:03PM    6             Q.    Okay.    And would that have required
03:03PM    7   writing a lab order so that --

03:03PM    8             A.    Or phoning it in.

03:03PM    9             Q.    Okay.    But it would have required you
03:03PM   10   making a lab order for him to have his sperm count
03:03PM   11   tested?

03:03PM   12             A.    Yes.
03:03PM   13             Q.    Okay.    Next note appears to be

03:03PM   14   February 1st, 1980.       Do you see that?

03:03PM   15             A.    Yes.
03:03PM   16             Q.    Please go through that note for me.

03:03PM   17             A.    Okay.    Weight the same.        Again, she's

03:04PM   18   there for a Clomid check.         At this time, we just

03:04PM   19   noted that the sperm count was 35 million with

03:04PM   20   50 percent motility.        The exam revealed no cysts, and

03:04PM   21   she was prescribed Clomid No. 15; the husband to

03:04PM   22   continue on Clomid.

03:04PM   23             Q.    And then in the next note on March 4th,

03:04PM   24   1980, it would appear.

03:04PM   25             A.    Okay.    Again, it's for a Clomid check,

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03:06PM    1   workup, or part of this -- you have to do -- you have

03:06PM    2   to be completing your testing.

03:06PM    3             Q.    Okay.    And that requires that you're
03:07PM    4   treating both husband and wife for infertility,

03:07PM    5   correct?

03:07PM    6             A.    Well -- well, you're running a test on
03:07PM    7   the husband.     That doesn't necessarily mean that

03:07PM    8   you've -- that I'm treating him.

03:07PM    9             Q.    Okay.    You also prescribed Clomid for
03:07PM   10   him?
03:07PM   11             A.    Well, I did, but that doesn't always

03:07PM   12   apply.
03:07PM   13             Q.    Okay.    But in this case you prescribed

03:07PM   14   at least one drug for him and you ordered laboratory

03:07PM   15   testing for him.
03:07PM   16             A.    Okay.

03:07PM   17             Q.    Correct?

03:07PM   18             A.    Yes.

03:07PM   19             Q.    And that's not something that you would

03:07PM   20   do for a nonpatient, is it?

03:07PM   21             A.    No.

03:07PM   22             Q.    So it would be fair to say that Howard

03:07PM   23   Fowler, at this time, was your patient?             Correct?

03:07PM   24             A.    Yes.

03:07PM   25             Q.    Okay.    Tell me -- going down the list

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03:12PM    1   for artificial insemination with her husband's --

03:12PM    2   okay.

03:12PM    3             Q.      And that corresponds to what you had
03:12PM    4   recommended on March 4th, of 1980?

03:12PM    5             A.      Okay.    Okay.

03:12PM    6             Q.      Is that correct?
03:12PM    7             A.      Yes.

03:12PM    8             Q.      And then on March 15th of 1980, there's

03:12PM    9   another note.
03:12PM   10             A.      Same.
03:12PM   11             Q.      Okay.    That indicates that she came in

03:12PM   12   for artificial insemination with her husband's sperm?
03:12PM   13             A.      Again.    Again.   And also two days later.

03:12PM   14             Q.      On March 17th of 1980?

03:12PM   15             A.      Right.
03:12PM   16             Q.      So that corresponds with what you had

03:12PM   17   recommended on March 4th?

03:12PM   18             A.      Right.

03:12PM   19             Q.      Okay.    Then there's a note on May 2nd of

03:12PM   20   1980.

03:12PM   21             A.      Okay.

03:12PM   22             Q.      And before we get into this note, let me

03:12PM   23   ask you.       Would there have been an entry made by you

03:12PM   24   every time you visited with Sally?            Would -- would

03:13PM   25   there be some note on this -- in these handwritten

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03:13PM    1   notes?

03:13PM    2             A.     I would hope so, but I -- it's a long

03:13PM    3   time ago.      I don't know.
03:13PM    4             Q.     Okay.   Assuming that you were following

03:13PM    5   your standard clinical practices --

03:13PM    6             A.     I would make some kind of note.
03:13PM    7             Q.     Every time you see a patient?

03:13PM    8                    Is that a "yes"?

03:13PM    9             A.     Well, yes.
03:13PM   10             Q.     Okay.   Sorry.     I just need the answers
03:13PM   11   aloud --

03:13PM   12             A.     Okay.
03:13PM   13             Q.     -- for the court reporter.

03:13PM   14             A.     Okay.

03:13PM   15             Q.     Go through the -- one other question.
03:13PM   16   Unless a mistake was made, I can assume that, if

03:13PM   17   there is no entry on a particular date, that you did

03:13PM   18   not see Sally Ashby on that date, correct?

03:13PM   19             A.     Correct.

03:13PM   20             Q.     Okay.   And if you would have seen just

03:13PM   21   Howard Fowler alone, you would have also made a note

03:13PM   22   in this chart?

03:13PM   23             A.     Yes.

03:13PM   24             Q.     Okay.   So you didn't keep a separate

03:14PM   25   chart for Howard Fowler?

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03:14PM    1             A.    No.

03:14PM    2             Q.    So let's go through the note on May 2nd,

03:14PM    3   1980.
03:14PM    4             A.    Okay.    That's the patient's weight; the

03:14PM    5   nurse writes that she's here for a Clomid check;

03:14PM    6   prescribed Clomid No. 15 and recommended that she
03:14PM    7   have AID on 05/12 and 05/14.

03:14PM    8             Q.    "AID" would indicate artificial

03:14PM    9   insemination with a donor?
03:14PM   10             A.    Yes.    But they elected instead to do
03:14PM   11   AIH.    So they would have declined the donor and

03:14PM   12   wanted to use the husband.
03:14PM   13             Q.    And is that what's indicated by the

03:14PM   14   chart note of May 12th, 1980 where it says "AIH"?

03:14PM   15             A.    AIH.
03:15PM   16             Q.    Okay.    So on May 12th of 1980, you would

03:15PM   17   have performed an artificial insemination with

03:15PM   18   husband's sperm?

03:15PM   19             A.    Yes.

03:15PM   20             Q.    Next entry is May 14th, 1980.           Please go

03:15PM   21   through that for me.

03:15PM   22             A.    Okay.    And that's another time that we

03:15PM   23   did AIH, and it noted that her last period was the

03:15PM   24   30th of April, and we did the AI without difficulty.

03:15PM   25             Q.    Okay.    The next note is from June 3rd,

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03:15PM    1   1980, correct?

03:15PM    2             A.    Okay.

03:15PM    3             Q.    Is that correct?
03:15PM    4             A.    That is correct.

03:15PM    5             Q.    Would you please go through that note

03:15PM    6   for me.
03:15PM    7             A.    Okay.    Again, the weight; she's in for a

03:15PM    8   Clomid check again, and the exam is she has no cysts,

03:15PM    9   and she was ovulatory on day 17, and so we elected to
03:16PM   10   do AIH with her husband on the 14th, and also, looks
03:16PM   11   like June 14th on day 14, or on -- well, days 14, 16,

03:16PM   12   and 18 of her cycle.
03:16PM   13             Q.    And that would correspond with June

03:16PM   14   12 --

03:16PM   15             A.    Yes.
03:16PM   16             Q.    -- 14, and 16?

03:16PM   17             A.    Yes.

03:16PM   18             Q.    Okay.    And so then there's the note --

03:16PM   19   the next note would appear to be from June 12th,

03:16PM   20   1980, correct?

03:16PM   21             A.    Yes.

03:16PM   22             Q.    And that -- it appears that there are

03:16PM   23   two notations "AIH."

03:16PM   24             A.    Well, one is the nurse and one is mine.

03:16PM   25             Q.    Okay.

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03:16PM    1             A.    Or one is the secretary and one is mine.

03:16PM    2   It just says that she's coming for AIH, and I wrote

03:16PM    3   that she had AIH.
03:16PM    4             Q.    Okay.    The next date is June 16, 1980.

03:17PM    5   Do you see that?

03:17PM    6             A.    Yes.
03:17PM    7             Q.    Please read that note for me.

03:17PM    8             A.    Again, it's a note for AIH, and the

03:17PM    9   husband obtained the specimen at 4:00 without
03:17PM   10   difficulty.
03:17PM   11             Q.    And then what's the notation on the line

03:17PM   12   below that date over on the left side?
03:17PM   13             A.    I -- I don't know.        I don't know what

03:17PM   14   that is.

03:17PM   15             Q.    Okay.    The next date is August 11, 1980;
03:17PM   16   is that correct?

03:17PM   17             A.    Yes.

03:17PM   18             Q.    And what does that -- tell me what that

03:17PM   19   note says.

03:17PM   20             A.    Okay.    It says that her last period was

03:18PM   21   on the 31st and that we was going to start Clomid on

03:18PM   22   the 5th of August.

03:18PM   23             Q.    Okay.    And then on September 12th, 1980?

03:18PM   24             A.    The pregnancy test is positive.

03:18PM   25             Q.    Okay.    And then there was this note,

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03:18PM    1   10/01/80, that got crossed out.           Do you see that?

03:18PM    2             A.    Well, I can't explain that.

03:18PM    3             Q.    Okay.    Is there anything in the chart
03:18PM    4   notes that are pages 5 and 9 of Exhibit *-19 that

03:18PM    5   indicates that Ms. Ashby was ever inseminated with

03:18PM    6   donor sperm?
03:18PM    7             A.    There's nothing in my chart.

03:19PM    8             Q.    Is there anything in any of the

03:19PM    9   documentation we've looked at in Exhibit *-19 -- so
03:19PM   10   pages 1 through 9 -- that you could point to that
03:19PM   11   would indicate that Ms. Ashby was ever inseminated

03:19PM   12   with donor sperm?       And I'm just asking pages 1
03:19PM   13   through 9.     We've got a few more to go through, so --

03:19PM   14             A.    Okay.    1 through 9.

03:19PM   15             Q.    Yep.
03:19PM   16             A.    Okay.    We noted that we might do it, but

03:19PM   17   we didn't ever do it, it looks like.

03:19PM   18             Q.    You never -- there's nothing in those

03:19PM   19   notes that would indicate that donor sperm was ever

03:19PM   20   used?

03:19PM   21             A.    Nope.    It's all AIH.

03:20PM   22             Q.    Okay.    Let's go to page 10, please.

03:20PM   23   Actually, I guess before we go to page 10 -- can you

03:20PM   24   explain to me why there wouldn't be a written

03:20PM   25   notation of donor sperm being used?

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03:20PM    1             A.    No.    I -- were -- I don't see -- I see

03:20PM    2   that we proposed having AID, but I never see any AID

03:20PM    3   on -- on here.
03:20PM    4             Q.    Is it possible that you inseminated

03:20PM    5   Sally Ashby, then Fowler, using your own semen

03:20PM    6   without informing her that you were using any semen
03:21PM    7   other than her husband's?

03:21PM    8             A.    I don't think so.

03:21PM    9             Q.    But if you were using what you believe
03:21PM   10   to be somebody else's semen, wouldn't that appear in
03:21PM   11   your records?

03:21PM   12             A.    It should, but it's -- it's -- all we
03:21PM   13   have here is AIH.

03:21PM   14             Q.    So that kind of entry is what I call

03:21PM   15   conspicuous by its absence.
03:21PM   16             A.    Well, there's no AID on here.

03:21PM   17             Q.    So when you did inseminate Ms. Ashby,

03:21PM   18   then Fowler, you didn't make a note of having used

03:21PM   19   donor sperm, correct?

03:21PM   20             A.    No.    There's no note in here, so that's

03:21PM   21   all I can tell you -- is there's no note in here.

03:21PM   22   I -- we're talking a long time ago.

03:21PM   23             Q.    What is page 10 of Exhibit *-19?

03:22PM   24             A.    It's a Pap smear.

03:22PM   25             Q.    Any specific significance to page 10

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 2

 3    STATE OF IDAHO                  )
                                      )    ss.
 4    COUNTY OF BONNEVILLE            )

 5

 6
 7        I, Amber S. Williams, Court Reporter and Notary
     Public in and for the State of Idaho, do hereby
 8   certify:
          That prior to being examined Gerald E. Mortimer,
 9   M.D., the witness named in the foregoing deposition,
     was by me duly sworn to testify to the truth, the
10   whole truth, and nothing but the truth;
          That said deposition was taken down by me in
11   shorthand at the time and place therein named and
     thereafter reduced to typewriting under my direction,
12   and that the foregoing transcript contains a full,
     true, and verbatim record of said deposition.
13        I further certify that I have no interest in the
     event of the action.
14        WITNESS my hand and seal this 19th day of
     December 2018.
15
16

17

18

19

20                                        Amber S. Williams
                                          Court Reporter & Notary
21                                        Public in and for
                                          the State of Idaho
22                                        SRL-1080

23

24   My Commission Expires:        06-01-21

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